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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION


DYNAENERGETICS EUROPE GMBH, and
DYNAENERGETICS US, INC.,                 Civil Action No: 4:20-cv-02123

     Plaintiffs,

     v.

HUNTING TITAN INC.
     Defendant.

PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION TO DISMISS FOR LACK
   OF STANDING, AND IN THE ALTERNATIVE, DEFENDANT’S MOTION TO
DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT WITH RESPECT TO ITS
          CLAIMS OF WILLFUL AND INDIRECT INFRINGEMENT
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       Through counsel and pursuant to Local Rule 7(D), Plaintiffs DynaEnergetics Europe

GmbH (“DynaEnergetics Europe”) and DynaEnergetics US, Inc. (“DynaEnergetics US”)

(collectively “Plaintiffs”) submit this Brief in Opposition to Defendant’s Motion to Dismiss for

Lack of Standing, and in the Alternative, Defendant’s Motion to Dismiss Plaintiffs’ [Third]

Amended Complaint with Respect to its Claims of Willful and Indirect Infringement (Dkt. 68).

I.     SUMMARY OF ARGUMENT

       Defendant’s motion is founded on arguments that paint a misleading picture of certain case

authority, while at the same time neglecting to mention other, more relevant case authority. When

closely analyzed, the greater weight of authority and allegations of the operative complaint reveal

the fallacy of each of Defendant’s arguments.

       Regarding Defendant’s lack-of-standing argument, most courts (including district courts

from Texas) hold that as long as a plaintiff had some ownership interest in the asserted patent at

the time the original complaint was filed, the plaintiff had constitutional standing and can cure the

fact that it did not own all substantial rights in the patent (prudential standing) through a nunc pro

tunc post-filing assignment. See, e.g., Ex. A, Positive Techs. Inc. v. LG Display Co., No. 2:07 CV

67, 2008 WL 4425372, at *2-4 (E.D. Tex. Sept. 24, 2008) (allowing plaintiff that owned 75% of

patent at filing to correct lack of prudential standing through nunc pro tunc assignment); see also

Ex. B, Lincoln Imps., Ltd. v. Santa’s Best Craft, Ltd., No. H-07-2803, 2008 WL 11393095, at *1

(S.D. Tex. July 16, 2008) (rejecting an accused infringer’s argument that a reformation could not

provide standing retroactively to the plaintiff).

       Applied here, Defendant acknowledges that Plaintiffs had at least a one-half ownership

interest in the Patents-in-Suit when the original complaint was filed. See Dkt. 68 at 7 (“Plaintiffs

did not have an exclusionary interest in the two Patents-in-Suit when they filed suit in January

2020 because a third-party company, JDP Engineering, held an equal ownership interest in the

                                                    1
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patents from its employee-inventor, David Parks.”) (emphasis added). Plaintiffs disagree that they

lacked an exclusionary interest, but regardless Plaintiffs indisputably had constitutional standing

when suit was filed and were permitted to cure any possible prudential standing deficiency through

the nunc pro tunc assignment of all remaining rights in the patents.

       Regarding Defendant’s argument that Plaintiffs’ claims for indirect infringement must be

dismissed because “they have not pled any facts supporting pre-suit knowledge of the patents,”

most recent decisions hold that allegations of pre-suit knowledge are not required because claims

for indirect infringement can be supported by post-suit conduct. Id. at 1. Indeed, contrary to

Defendant’s contention that the “better weight” of authority supports dismissal, id. at 10, the filing

of the initial complaint to satisfy the knowledge requirement “is in keeping with the decisions of

most courts that have considered the issue recently.” Script Sec. Sols. L.L.C. v. Amazon.com, Inc.,

170 F. Supp. 3d 928, 937 (E.D. Tex. 2016); see also Ex. C, Estech Sys., Inc. v. Target Corp., No.

2:20-cv-00123-JRG-RSP, 2020 WL 6496425, at *5 (E.D. Tex. Aug. 10, 2020) (holding that

reliance on “the filing of the initial complaint to show [defendant’s] subsequent knowledge of the

Asserted Patents” for indirect infringement “has been approved in this District”). Moreover, a

plain review of Plaintiffs’ operative complaint refutes Defendant’s argument that Plaintiffs’

indirect infringement claims “are not sufficiently supported and are not distinguished from the

direct infringement claims.” Dkt. 68 at 1. The operative complaint contains extensive allegations

that support and distinguish the indirect infringement claims from those for direct infringement.

See Dkt. 63 ¶¶ 23-25, 27, 33-36.

       Finally, regarding Defendant’s willfulness argument, Plaintiffs’ operative complaint

alleges that Defendant knows (or is willfully blind to the probability) that its conduct is infringing,

and repeatedly alleges that Defendant has continued its infringing conduct despite actual notice



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that its conduct infringes the Patents-in-Suit. See, e.g., id. ¶¶ 22, 24, 26-27, 31-32, 34. Many

courts hold that such allegations are sufficient to plead a claim for willful infringement. See, e.g.,

Ex. D, ZitoVault, LLC v. IBM, No. 3:16-cv-0962-M, 2018 WL 2971131, at *2 (N.D. Tex. Mar. 29,

2018) (holding that post-suit knowledge can support a willful infringement claim at the pleading

stage if plaintiff also alleges that defendant is continuing its infringing activities despite actual

notice from filing of the complaint); Ex. E, Plano Encryption Techs., LLC v. Alkami Tech., Inc.,

Nos. 2:16-cv-1032-JRG2017, 2:16-cv-1072-JRG, 2017 WL 8727249, at *6 (E.D. Tex. Sept. 22,

2017) (“[A]n allegation that a defendant continues its allegedly infringing conduct even after

receiving notice of a complaint is sufficient to at least state a claim for willful infringement.”).

II.     NATURE AND STAGE OF THE PROCEEDINGS

        On January 30, 2020, Plaintiffs filed a lawsuit against Hunting in the Western District of

Texas alleging infringement of its ʼ161 and ʼ938 Patents by Hunting’s H-1 Perforating Gun

System. DynaEnergetics Europe GmbH v. Hunting Titan, Inc., No. 6:20-cv-00069 (W.D. Tex.).

Plaintiffs filed an Amended Complaint on March 23, 2020, Dkt. 20, and Hunting moved to transfer

venue to this District on April 7, 2020, Dkt. 25, which the Court granted. Dkt. 25-5. Plaintiffs filed

a [Third] Amended Complaint on August 27, 2021 (Dkt. 63), 1 alleging infringement of the ʼ161

and ʼ938 Patents. On September 10, 2021, Hunting answered the [Third] Amended Complaint

and moved to dismiss Plaintiffs’ claims of willful and indirect infringement pursuant to Rule

12(b)(6) and this case for lack of standing pursuant to Rule 12(b)(1). Dkts. 68 and 69. Plaintiffs

hereby oppose Hunting’s motion to dismiss.




1
  Plaintiffs’ most recent complaint filed on August 27, 2021 (Dkt. 63) was incorrectly styled as the “Second Amended
Complaint” when it should instead have been styled as Plaintiffs’ Third Amended Complaint. Plaintiffs previously
filed a Second Amended Complaint on April 28, 2020 (Dkt. 32).



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III.     FACTUAL BACKGROUND

         A.        Facts Relevant to Defendant’s Standing Arguments

         The Patents-in-Suit are U.S. Patent Nos. 10,429,161 (the “’161 Patent”) and 10,472,938

(the “’938 Patent”). The ’161 Patent issued on October 1, 2019, and lists DynaEnergetics Europe

as the lone assignee. 2 See Dkt. 63-1. The ’938 Patent issued on November 12, 2019, and lists

DynaEnergetics Europe and JDP Engineering and Machine Inc. (“JDP Engineering”) as co-

assignees. See Dkt. 63-2.            In view of those assignments and patent office records confirming

same, 3 Defendant acknowledges that Plaintiffs at least “held an equal ownership interest in the

patents” when the original complaint was filed. See Dkt. 68 at 7.                       Subsequently, on April 23,

2020, JDP Engineering assigned any remaining interest it had in the Patents-in-Suit to Plaintiffs

through a nunc pro tunc assignment that was effective as of January 1, 2017. See Dkt. 32-4. 4

         B.        Facts Relevant to Defendant’s Indirect Infringement and Willfulness
                   Arguments

         Contrary to Defendant’s argument that Plaintiffs have not adequately alleged willfulness

and that the indirect infringement “allegations are not sufficiently supported and are not

distinguished from the direct infringement claims” (Dkt. 68 at 1), the operative complaint contains

detailed allegations that fully support both claims. Specifically:

         Para. 13: DynaEnergetics makes, distributes, offers to sell, and sells perforating
         gun systems that practice the ’161 Patent and the ’938 Patent. DynaEnergetics

2
 The listed assignee is DynaEnergetics GmbH & Co. KG, which has been dissolved under German law and had all
of its assets and liabilities transferred automatically by succession to Plaintiff DynaEnergetics Europe GmbH.
3
  See Ex. F, DYNA_00003703-08; Ex. G, DYNA_00003709-32; Ex. H, DYNA_00003733-35; Ex. I,
DYNA_00003736-37; Ex. J, DYNA_00003738-40; Ex. K, DYNA_00003152-55.
4
  “In examining a Rule 12(b)(1) motion, the district court is empowered to consider matters of fact which may be in
dispute.” Ramming v. United States., 281 F.3d 158, 161 (5th Cir. 2001) (citation omitted). Where a defendant presents
evidentiary materials in support of a motion to dismiss for lack of subject matter jurisdiction, “plaintiff is also required
to submit facts through some evidentiary method and has the burden of proving by a preponderance of the evidence
that the trial court does have subject matter jurisdiction.” Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir. 1981).
Plaintiffs have done so here.



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  Europe exclusively licenses DynaEnergetics US to make, distribute, offer to sell,
  and sell perforating gun systems that practice the ’161 Patent and the ’938 Patent
  in the United States. DynaEnergetics has marked the covered products in
  accordance with 35 U.S.C. § 287.

  Para. 14: Defendant is a competitor of DynaEnergetics, including in the field of
  perforating systems. Defendant has, upon information and belief, either alone or in
  concert, manufactured, distributed, sold, or offered to sell the Hunting Titan H-1TM
  Perforating Gun System in the United States, including within the State of Texas
  and within this District.

  Para. 18: Upon information and belief, Defendant has known of the ’161 Patent,
  the ’938 Patent, and its own infringing activities since at least as early as the
  filing of this complaint.

  Para. 23: Defendant likewise has induced infringement of the ’161 Patent in
  violation of 35 U.S.C. § 271(b). Defendant actively encourages its customers, by
  and through its sales and marketing efforts and staff, to directly infringe the ’161
  Patent by using the H-1TM Perforating Gun System within the United States.

  Para. 24: Defendant specifically intended and has been aware (since at least
  January 30, 2020) that its customers’ normal and customary use of the H-1TM
  Perforating Gun System would infringe the ’161 Patent. Defendant’s sales
  personnel and technical marketing staff interface with its customers and potential
  customers to purchase and use the H-1TM Perforating Gun System that infringes the
  ’161 Patent. Defendant’s sales personnel and technical marketing staff tout the
  technological and economic benefits of the H-1TM Perforating Gun System and
  actively encourage use of the H-1TM Perforating Gun System in customers’ wells,
  or by customers for use in wells. Defendant, therefore, knows (and has known),
  or was willfully blind to the probability, that its actions have, and continue to,
  actively induce infringement of the ’161 Patent. As a result of Defendant’s active
  encouragement and intentional inducement, its customers have committed acts
  directly infringing the ’161 Patent.

  Para. 25: In addition to the foregoing and/or in the alternative, Defendant is liable
  as a contributory infringer of the ’161 Patent under 35 U.S.C. § 271(c). To the
  extent the H-1TM Perforating Gun System is sold in a non-assembled form,
  Defendant provides all components required for full assembly of the H-1TM
  Perforating Gun System. Defendant’s sales personnel and technical marketing
  staff further provide information required for Defendant’s customers to complete
  assembly of the H-1TM Perforating Gun System. Defendant has known the H-
  1TM Perforating Gun System to be infringing the ’161 Patent since at least
  January 30, 2020. The H-1TM Perforating Gun System is not a staple article or a
  commodity of commerce suitable for substantial noninfringing use because it
  cannot be used without infringing the ’161 Patent. Thus, Defendant is liable as a
  contributory infringer.


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        Para. 27: At least as early as January 30, 2020, Defendant has been on notice of,
        and has had knowledge of, the ’161 Patent and of DynaEnergetics’ allegations of
        infringement. Defendant’s infringement of the ’161 Patent has been willful and
        deliberate at least since this date.

        Para. 31: Defendant has, either alone or in concert, directly infringed and
        continues to infringe the ’938 Patent, either literally or through the doctrine of
        equivalents, by making, using, importing, supplying, distributing, selling and/or
        offering for sale the H-1TM Perforating Gun System within the United States, in
        violation of 35 U.S.C. § 271(a).

        Para. 32: Upon information and belief, Defendant has made and is continuing to
        make unlawful gains and profits from its infringement of the ’938 Patent.

Dkt. 63 ¶¶ 13-14, 23-25, 27, 31-32 (emphasis added); see also id. ¶¶ 33-36.

IV.     STATEMENT OF THE ISSUES AND STANDARD OF REVIEW

        The issues to be decided by the Court are (1) whether DynaEnergetics has standing to assert

infringement of the ʼ161 and ʼ938 Patents by Hunting under Rule 12(b)(1); and (2) whether

DynaEnergetics has stated a plausible claim for willful and indirect infringement by Hunting to

survive a motion to dismiss under Rule 12(b)(6). The standard of review under Rule 12(b)(1) and

Rule 12(b)(6) is de novo. Nano-Proprietary, Inc. v. Canon, Inc., 537 F.3d 394, 399 (5th Cir. 2008);

Cell Sci. Sys. Corp. v. Louisiana Health Serv., 804 Fed. App’x. 260, 262 (5th Cir. 2020).

V.      ARGUMENT

        A.     Legal Standards

        Standing “determines the court’s fundamental power . . . to hear [a] suit.” Rivera v. Wyeth-

Ayerst Lab’ys, 283 F.3d 315, 319 (5th Cir. 2002). “Whether a party has standing to sue in federal

court is a question of federal law.” Paradise Creations, Inc. v. UV Sales, Inc., 315 F.3d 1304, 1308

(Fed. Cir. 2003) (citing Baker v. Carr, 82 S. Ct. 691, 703, 369 U.S. 186, 204 (1962)). The

party asserting jurisdiction has the burden of establishing jurisdiction. See id.; Rivera, 283 F.3d at

318-19. In the context of patent infringement suits, there are two separate limitations on standing:



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constitutional and prudential. See Morrow v. Microsoft Corp., 499 F.3d 1332, 1338-40 (Fed. Cir.

2007) (differentiating constitutional and prudential standing). “Article III standing . . . generally

must be present at the inception of the lawsuit.” Paradise, 315 F.3d at 1308 (citing Lujan v. Defs.

of Wildlife, 112 S. Ct. 2130, 2142 n.5 (1992)). Defects in prudential standing, however, are not

fatal to the lawsuit, and if the plaintiff had constitutional standing at the inception of the lawsuit,

prudential concerns may be cured after the lawsuit is filed. See Schreiber Foods, Inc. v. Beatrice

Cheese, Inc., 402 F.3d 1198, 1203 n.4 (Fed. Cir. 2005) (citing Mentor H/S, Inc. v. Med. Device

All., Inc., 240 F.3d 1016, 1018-19 (Fed. Cir. 2001)).

       Regarding Defendant’s willfulness and indirect infringement arguments, in order to

survive a motion to dismiss, a complaint “must contain sufficient factual matter, accepted as true,

to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949,

556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 127 S. Ct. 1955, 1974, 550 U.S.

544, 570 (2007)). The plausibility standard is not a probability requirement and requires only that

there is “more than a sheer possibility that a defendant has acted unlawfully.” Id. (emphasis added).

Further, “[n]othing in Twombly or its progeny allows a court to choose among competing

inferences as long as there are sufficient facts alleged to render the non-movant’s asserted

inferences plausible.” In re Bill of Lading Transmission & Processing Sys. Pat. Litig., 681 F.3d

1323, 1340 (Fed. Cir. 2012); see also Twombly, 127 S. Ct. at 1965 (“[A] well-pleaded complaint

may proceed even if it strikes a savvy judge that actual proof of those facts is improbable, and ‘that

recovery is very remote and unlikely.’” (quoting Scheuer v. Rhodes, 94 S. Ct. 1683, 1686, 416

U.S. 232, 236 (1974))); Haskett v. T.S. Dudley Land Co., 648 Fed. App’x. 492, 497 (5th Cir. 2016)

(vacating dismissal of certain claims finding that the “complaint partially clears the low bar of

Rule 12(b)(6)”).



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        B.      Defendant’s Motion to Dismiss for Lack of Standing Should Be Denied.

        Defendant relies on Enzo APA & Son, Inc. v. Geapag A.G., 134 F.3d 1090, 1093 (Fed. Cir.

1998) and Gaia Techs., Inc. v. Reconversion Techs., Inc., 93 F.3d 774, 780 (Fed. Cir. 1996), for

the proposition that “[N]unc pro tunc assignments are not sufficient to confer retroactive standing.”

See Dkt. 68 at 7. Yet many courts have distinguished Enzo and Gaia on the basis that in those

cases the plaintiff had no interest in the asserted patent at the time the original complaint was filed.

Ex. A, Positive Techs., 2008 WL 4425372, provides a good example. There the plaintiff owned a

75% interest in the patent at the time suit was filed, and subsequently obtained a nunc pro tunc

assignment of all remaining rights in the patent. Id. at *2-4. Just like Defendant here, the defendant

in Positive Techs. relied on Enzo and Gaia to support a motion to dismiss, arguing that the nunc

pro tunc assignment could not cure the standing deficiency. The court rejected the argument,

stating in relevant part, “[I]n sum, the parties in Enzo and Gaia had neither constitutional nor

prudential standing to bring their respective suits because they had no rights in the patents at the

time of filing. Positive, however, did have rights when it brought this suit—Positive owned

seventy-five percent of the patents.” Id. at *3 (emphasis in original). Notably, the Positive Techs.

court went on to reject the defendant’s suggestion that prudential standing cannot be cured post-

complaint, and in fact noted that the Federal Circuit has reached the opposite conclusion:

        The Federal Circuit has not found that prudential standing cannot be remedied
        when, as here, a plaintiff has constitutional standing at the commencement of a
        suit. In fact, the Federal Circuit has recognized on many occasions the ability to
        cure prudential standing defects post filing. See, e.g., Abbott Labs. v. Diamedix
        Corp., 47 F.3d 1128, 1133-34 (Fed. Cir. 1995) (allowing post-filing intervention
        by patent owner, whose joinder was required for statutory, i.e., prudential,
        standing); [Intell. Prop. Dev., Inc. v. TCI Cablevision of Cal., Inc., 248 F.3d 1333,
        1348 (Fed. Cir. 2001)] (recognizing the principle that a patent owner may be joined
        by an exclusive licensee where exclusive licensee has “constitutional” standing at
        the time of filing).

Id. at *3 (emphasis added).


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        Consistent with this holding, many courts have rejected the very argument Defendant

makes here, recognizing that the sounder practice is to allow prudential standing concerns to be

rectified after suit is filed. See, e.g., Ex. L, Advanced Tech. Incubator, Inc., v. Sharp Corp., No.

2:07-cv-468, 2009 WL 2460985, at *5-6 (E.D. Tex. Aug. 10, 2009) (rejecting defendant’s reliance

on Enzo and Gaia and holding that the plaintiff had constitutional standing as an exclusive licensee

at the time complaint was filed, and thus was entitled to “cure[] any defect in prudential standing”

post-filing); Ex. M, Hockerson-Halberstadt, Inc. v. New Balance Athletic Shoe Inc., No. 08-4131,

2009 WL 10679734, at *3 (E.D. La. June 4, 2009) (distinguishing Enzo “because that Plaintiff had

no standing at the inception of the suit,” and finding that a plaintiff that did not have the right to

sue for past infringement at the commencement of suit could cure that prudential standing defect

after suit was filed); Ex. N, VirnetX, Inc. v. Microsoft Corp., No. 6:07 CV 80, 2008 WL 8894682,

at *2 (E.D. Tex. June 4, 2008) (“[A] plaintiff with constitutional standing may cure prudential

standing defects after it files suit.” (citing Intell. Prop. Dev., Inc., 248 F.3d at 1348)); see also Ex.

O, I & I Hair Corp. v. Beauty Plus Trading Co., No. 3:18-cv-03254-M, 2019 WL 7838077, at *3

(N.D. Tex. Sept. 13, 2019) (trademark case distinguishing Enzo and Gaia because “the plaintiffs

in both of those cases lacked both statutory and constitutional standing, and several courts have

distinguished those decisions and found that a nunc pro tunc assignment can cure a lack of statutory

standing” (citing Ex. A, Positive Techs., 2008 WL 4425372, at *2; Ex. L, Advanced Tech., 2009

WL 2460985, at *5-6)); Ex. P, Southwest eFuel Network, L.L.C. v. Transaction Tacking Techs.

Inc., No. 2:07-cv-311-TJW, 2009 WL 4730464, at *3 (E.D. Tex. Dec. 7, 2009) (“The Federal

Circuit cases that the Defendant primarily relies upon, Enzo and Gaia, are easily distinguishable

from the facts of this case. In both Enzo and Gaia, the plaintiff had no rights to the patent when it

originally brought suit.”); Ex. B, Lincoln Imps., 2008 WL 11393095, at *1 (rejecting defendant’s



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argument that a reformation could not grant a standing retroactively); Ex. Q, Houston Home

Dialysis v. Blue Cross & Blue Shield of Texas, No. H-17-2095, 2018 WL 5249996, at *3, 5-6 (S.D.

Tex. Oct. 22, 2018) (unlike constitutional standing, statutory standing issues can be waived or

cured); Ex. R, Mobilemedia Ideas, LLC v. Rsch. in Motion Ltd., No. 3:11-CV-2353-N, 2013 WL

12124319, at *5 (N.D. Tex. June 18, 2013) (prudential (statutory) standing issues may be cured).

        Applied here, the faces of the Patents-in-Suit confirm, and Defendant acknowledges, that

Plaintiffs owned at least a 50% interest in the patents when suit was filed. See Dkts. 63-1, 63-2, 68

at 7. There is no legitimate dispute that such ownership interest conferred constitutional standing

when suit was filed. See, e.g., Morrow, 499 F.3d at 1338-39 (differentiating constitutional and

prudential standing in that “[t]o demonstrate the minimal constitutional standing requirements

have been satisfied, ‘[a] plaintiff must allege personal injury fairly traceable to the defendant’s

allegedly unlawful conduct and likely to be redressed by the requested relief.’” (quoting Hein v.

Freedom Religion Found., Inc., 127 S. Ct. 2553, 2555-56, 551 U.S. 587, 588 (2007))); Bushnell,

Inc. v. Brunton Co., 659 F. Supp. 2d 1150, 1159, 1163-64 (D. Kan. 2009) (co-owner of patent

found to have constitutional, but not prudential, standing); Ex. A, Positive Techs., 2008 WL

4425372, at *3 (owner of 75% of patent found to have constitutional standing); Ex. S, Mosaid

Techs. Inc. v. Freescale Semiconductor, Inc., No. 6:11-cv-173, 2012 WL 12903081, at *2 (E.D.

Tex. May 14, 2012) (holding that defects in prudential standing can be cured post-complaint).

Consequently, Plaintiffs could cure any remaining prudential standing issues through the nunc pro

tunc assignment, which provided Plaintiffs full ownership of the Patents-in-Suit. As a separate

and independent basis for denying Hunting’s challenge, DynaEnergetics was also the exclusive

licensee of the patents at the time of the original filing. See Dkt. 1 ¶¶ 11-13. That alone is sufficient

to confer constitutional standing and, as explained above, any remaining alleged prudential



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standing issues were cured through the assignment. Ex. L, Advanced Tech. Incubator, Inc. v. Sharp

Corp., No. 2:07-cv-468, 2009 WL 2460985, at *3, 5 (E.D. Tex. Aug. 10, 2009) (holding that the

plaintiff had constitutional standing as an exclusive licensee at the time complaint was filed, and

thus was entitled to “cure[] any defect in prudential standing” post-filing).

       C.      Defendant’s Motion to Dismiss the Indirect and Willful Infringement Claims
               Should Also Be Denied.

       Defendant argues that the indirect and willful infringement claims “fail because the Third

Amended Complaint does not plausibly allege that (1) Defendant had pre-suit knowledge of the

Patents-in-Suit and (2) egregious conduct to support willful infringement. Indirect infringement

under Section 271(b)-(c) requires actual knowledge of or willful blindness to the infringed patent’s

existence.” Dkt. 68 at 10. Both arguments fail for several reasons.

       As an initial matter, the operative complaint alleges that Plaintiffs mark products covered

by the Patents-in-Suit with the patent numbers in accordance with 35 U.S.C. § 287, and that

Defendant is a competitor in the field of products covered by the patents. Dkt. 63 ¶¶ 13-14. Such

allegations are sufficient to plausibly allege that Defendant had knowledge of the patents prior to

receiving the complaint. See, e.g., Ex. T, Salazar v. HTC Corp., No.2:16-CV-01096-JRG-RSP,

2018 WL 1310007, at *2 (E.D. Tex. Feb. 14, 2018) (finding defendant’s knowledge of patents

could be inferred from allegations that “covered products bearing the patent number were sold in

the United States”); Ex. U, 3D Sys., Inc. v. Formlabs, Inc., No. 13 Civ. 7973, 2014 WL 1904364,

at *3 (S.D.N.Y. May 12, 2014) (“Marking of a product has been found . . . to support

an inference that a defendant had knowledge of a patent.”); Ex. V, Novatel Wireless, Inc. v.

Franklin Wireless Corp., No. 10cv2530-CAB (JMA), 2012 WL 12845615, at *2 (S.D. Cal. July

19, 2012) (holding that a plaintiff’s “marking of its own products that compete with the accused

infringed products” and listing patents on a website was sufficient to allege prior knowledge of a


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patent); Ex. W, Aladdin Temp-Rite, LLC v. Carlisle Foodservice Prods., Inc., 2014 WL 12775193,

at *3 (M.D. Tenn. July 2, 2014) (holding, at the motion to dismiss stage, Plaintiff sufficiently

alleged prior knowledge of a patent by claiming the “Defendant knew of Plaintiff’s patent by virtue

of Plaintiff’s marking of its products”). 5

         But even if the Court determines that such allegations do not plausibly allege pre-suit

knowledge, requiring an express allegation of pre-suit knowledge to sustain a claim for indirect

infringement is by far the minority view. See Script Sec. Sols., 170 F. Supp. 3d at 937 (relying on

the filing of the initial complaint to satisfy the knowledge requirement “is in keeping with the

decisions of most courts that have considered the issue recently”). Indeed, the overwhelming

majority of courts have taken a more pragmatic approach, and have either sustained an original

allegation of indirect infringement based on knowledge of the patents gained from the complaint, 6

or have granted the plaintiff leave to file an amended or supplemental pleading expressly alleging

knowledge of the patent by virtue of being served with the complaint. 7

         This majority rule is the more sensible one, and it should be adopted by this Court. See


5
  Further, in support of DynaEnergetics’ allegation that “Defendant has known of the ’161 Patent, the ’938 Patent, and
its own infringing activities since at least as early as the filing of this complaint,” Dkt. 63 ¶ 18 (emphasis added),
DynaEnergetics expects that discovery will reveal that Defendant was monitoring DynaEnergetics’ patent activity, as
DynaEnergetics had previously filed suit against Defendant for infringement of United States Patent No. 9,581,422
(DynaEnergetics Europe GmbH v. Hunting Titan, Inc., No. 4:17-cv-03874 (S.D. Tex.)) and for trade secret
misappropriation (DynaEnergetics GmbH & Co. KG v. Hunting Titan, Inc., No. 4:19-cv-01615 (S.D. Tex.)).
6
  See Ex. X, YETI Coolers, LLC v. RTIC Coolers, LLC, No. 1:15-CV-00597-RP, 2016 WL 5956081, at *11 (W.D.
Tex. Aug. 1, 2016); Ex. Y, InMotion Imagery Techs. v. Brain Damage Films, No. 2:11-CV-414-JRG, 2012 WL
3283371, at *3 (E.D. Tex. Aug. 10, 2012); Apeldyn Corp. v. Sony Corp., 852 F. Supp. 2d 568, 573-74 (D. Del. 2012)
(noting that “there is no legal impediment to having an indirect infringement cause of action limited to post-litigation
conduct”); Ex. Z, Pat. Harbor, LLC v. DreamWorks Animation SKG, Inc., No. 6:11-cv-229, 2012 WL 9864381, at *4
(E.D. Tex. July 27, 2012); Ex. AA, Achates Reference Publ’g, Inc. v. Symantec Corp., No. 2:11-CV-294-JRG-RSP,
2013 WL 693955, at *2 (E.D. Tex. Jan. 10, 2013); .

7
  See Xpoint Techs., Inc. v. Microsoft Corp., 730 F. Supp. 2d 349, 357 (D. Del. 2010) (granting leave to amend to
allege post-filing conduct); Ex. CC, Apple Comput., Inc. v. Unova, Inc., No. Civ.A. 03-101-JJF, 2003 WL 22928034,
at *5 (D. Del. Nov. 25, 2003) (noting that amended complaint alleging knowledge as of date of original complaint
mooted defendant’s motion to dismiss indirect infringement claims); Mallinckrodt Inc. v. E-Z-EM Inc., 671 F. Supp.
2d 563, 569-70 (D. Del. 2009) (permitting plaintiff to file a supplemental pleading alleging post-suit conduct).


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Rembrandt Social Media, LP v. Facebook, Inc., 950 F. Supp. 2d 876, 882 (E.D. Va. 2013) (“It is

clear that the majority view is the sounder view. There is simply no substantive difference between

(i) a putative infringer learning of a patent from a plaintiff’s letter a day, or hours or even minutes

before an infringement suit is filed or served, and (ii) a putative infringer learning of the patent

from the filing or service of a complaint.”). Indeed, as numerous courts have recognized, there is

“no legal impediment to having an indirect infringement cause of action limited to post-litigation

conduct.” Apeldyn Corp. v. Sony Corp., 852 F. Supp. 2d at 573-74; see also Ex. BB, Intellect

Wireless, Inc., v. Sharp Corp., No. 10 C 6763, 2012 WL 787051, at *11 (N.D. Ill. Mar 9, 2012). 8

Given that a patentee is undoubtedly entitled to compensation for indirect infringement that occurs

after the date of its original complaint, a rule that denies the patentee the right to pursue such a

claim because at the pleadings stage it cannot demonstrate that the defendant had knowledge of

the patent prior to receiving the complaint, makes no sense. 9

         Finally, there is no dispute that the operative complaint alleges that Defendant “actively

encourages” its customers to directly infringe the Patents-in-Suit through its marketing efforts and

by providing its customers with instructions, training, and support to facilitate the use and

operation of the accused product in a manner that directly infringes, and does so with the intent

that its customers will use and operate the accused products in an infringing manner. Dkt. 63

¶¶ 23-25, 33-35. The Federal Circuit and Texas district courts have expressly held that allegations



8
  Defendant also incorrectly asserts that no Federal Circuit opinion has addressed this issue. Dkt. 68 at 10. At least
one Federal Circuit decision has upheld a claim for induced infringement in which first knowledge of the patents was
alleged to be based on service of the complaint. See In re Bill of Lading, 681 F.3d at 1345 (Fed. Cir. 2012) (upholding
amended complaints alleging indirect infringement claims against defendants where knowledge of the patent was
based on service of the original complaint).

9
 Additionally, Defendant itself acknowledges that “willful blindness to the infringed patent’s existence” satisfies the
knowledge requirement for indirect infringement. Dkt. 68 at 10. This acknowledgement is likewise fatal to
Defendant’s motion as the operative complaint specifically alleges that Defendant “was willfully blind … that its
actions have, and continue to, actively induce infringement” of the Patents-in-Suit. Dkt. 63 ¶¶ 24, 34.

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of active steps taken to encourage infringement, such as instructions and training, support a

reasonable inference of knowledge and intent that the accused products be used to infringe. See

AstraZeneca LP v. Apotex, Inc., 633 F.3d 1042, 1059 (Fed. Cir. 2010) (citing Metro-Goldwyn-

Mayer Studios, Inc. v. Grokster, Ltd., 125 S. Ct. 2764, 2789, 545 U.S. 913, 936 (2005)); Ex. DD,

Google Inc. v. Beneficial Innovations, Inc., No. 2:11-cv-00229, 2014 WL 4215402, at *12 (E.D.

Tex. Aug. 21, 2014) (finding that a jury could conclude specific intent to induce infringement

based on allegations of actions directed to promoting infringement); see also Ex. EE, BioMérieux,

S.A. v. Hologic, Inc., No. 18-21 (LPS), 2018 WL 4603267, at *4-5 (D. Del. Sept. 25, 2018).

       Regarding Plaintiffs’ willfulness claim, while courts are more “split” on whether the

complaint must allege pre-suit knowledge of the patents, district courts from Texas and many other

jurisdictions hold that post-suit knowledge of the patents can support a claim for willful

infringement if the complaint also alleges that that defendant is continuing its infringing activities

despite having actual notice of the patent from the initial complaint. See, e.g., Ex. D, ZitoVault,

LLC, 2018 WL 2971131, at *2; Ex. E, Plano Encryption Techs., LLC, 2017 WL 8727249, at *6

(“[A]n allegation that a defendant continues its allegedly infringing conduct even after receiving

notice of a complaint is sufficient to at least state a claim for willful infringement.”); Script Sec.

Sols., 170 F. Supp. 3d at 939 (allegations that defendants continued conduct despite knowledge of

patents and infringing conduct sufficient to plead willful infringement); Oracle Corp. v.

DrugLogic, Inc., 807 F. Supp. 2d 885, 903 (N.D. Cal. 2011) (allegations that defendants were

aware of patents and “continued their actions” constituted “sufficient facts to support a plausible

claim for willful infringement”); Canon, Inc. v. Avigilon USA Corp., 411 F. Supp. 3d 162, 164-66

(D. Mass. 2019) (indicating that willfulness-based enhanced damages claims based on post-suit

knowledge were permissible). Applied here, the operative complaint specifically alleges that



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(a) Defendant has “directly infringed and continues to infringe” the Patents-in-Suit;

(b) Defendant’s actions “have, and continue to,” actively induce infringement of the Patents-in-

Suit; and (c) “Defendant has made and is continuing to make unlawful gains and profits from its

infringement” of the Patents-in-Suit. Dkt. 63 ¶¶ 22, 24, 26, 31, 32, 34 (emphasis added). Such

allegations are sufficient to sustain a claim for willfulness in view of the above authority.

        Defendant’s citation to Ex. FF, M & C Innovations, LLC v. Igloo Prods. Corp., No. 4:17-

CV-2372, 2018 WL 4620713 (S.D. Tex. July 31, 2018), to support its argument that the operative

complaint fails to sufficiently allege that “Defendant has acted in an egregious manner to justify

enhanced damages after being served with the complaint,” is misplaced. See Dkt. 68 at 14. The

allegations from the complaint in Igloo Prods. are materially distinguishable. There the plaintiff

did not allege any facts regarding the defendant’s post-suit conduct, and simply alleged that the

“[defendant] has willfully infringed claims of the [asserted] patent by making, using, selling and

offering for sale the [accused products].” See Ex. GG, Igloo Prods., No. 4:17-CV-2372, Dkt. 28¶¶

30, 35, 40, 54, 59 (S.D. Tex. Jan. 11, 2018). In other words, the plaintiff in Igloo Prods. alleged

no more than post-suit knowledge of the asserted patents, but failed to allege even that the

defendant knew its conduct constituted infringement. By contrast, here Plaintiffs have alleged that

Defendant knows (or is willfully blind to the probability) that its conduct is infringing, and has

continued its infringing conduct despite actual notice that such conduct infringes the Patents-in-

Suit. See, e.g., Dkt. 63 ¶¶ 24, 27, 34. Per the above-authority, such allegations are sufficient to

plausibly allege a claim for willful infringement notwithstanding the Igloo Prods. decision.

        Accordingly, the operative complaint alleges more than sufficient factual bases to support

a finding of both indirect and willful infringement.

VI.     CONCLUSION

        For the foregoing reasons, Defendant’s motion should be denied in its entirety.

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Dated: October 1, 2021                      Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has

been served on all counsel of record through the Court’s CM/ECF service on this 1st day of

October, 2021.


                                                  /s/ Megan C. Moore
                                                 Megan C. Moore
